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                                   STATEMENT OF FACTS

1. Your affiant, AMANDA KRUGLER, is a SPECIAL AGENT assigned to the FEDERAL BUREAU
   OF INVESTIGATION (FBI). In my duties as a special agent, I have been assigned to a squad that
   investigates matters of national security, and I have received training in the collection and
   evaluation of physical and digital evidence. Currently, I am tasked with investigating criminal
   activity in and around the Capitol grounds on January 6, 2021. As a SPECIAL AGENT, I am
   authorized by law or by a government agency to engage in or supervise the prevention, detection,
   investigation, or prosecution of a violation of Federal criminal laws.


2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S.
   Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
   Police. Only authorized people with appropriate identification were allowed access inside the U.S.
   Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
   the public.


3. On January 6, 2021, a joint session of the United States Congress convened at the United States
   Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
   members of the United States House of Representatives and the United States Senate were meeting
   in separate chambers of the United States Capitol to certify the vote count of the Electoral College
   of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
   began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
   Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence
   was present and presiding, first in the joint session, and then in the Senate chamber.


4. As the proceedings continued in both the House and the Senate, and with Vice President Mike
   Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
   noted above, temporary and permanent barricades were in place around the exterior of the U.S.
   Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away from
   the Capitol building and the proceedings underway inside.


5. At such time, the certification proceedings were still underway, and the exterior doors and windows
   of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
   to maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m.,
   individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by
   assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and assisted those
   acts.


6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
   Representatives and United States Senate, including the President of the Senate, Vice President
   Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
   of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
   Pence remained in the United States Capitol from the time he was evacuated from the Senate
   Chamber until the sessions resumed.
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7. During national news coverage of the aforementioned events, video footage which appeared to be
   captured on mobile devices of persons present on the scene depicted evidence of violations of local
   and federal law, including scores of individuals inside the U.S. Capitol building without authority
   to be there.


8. On and around January 8, 2021, FBI Norfolk Division received multiple tips that an individual by
   the name of MEGHAN RUTLEDGE, also known as Meghan Bostic (RUTLEDGE), was
   captured in images of the unlawful activity that occurred on January 6, 2021, in and around the
   Capitol building. Further investigation, detailed below, determined that RUTLEDGE is the
   daughter of WILLARD THOMAS BOSTIC, JR. aka Tom Bostic (W. BOSTIC).

9. As a result of the investigation of RUTLEDGE and W. BOSTIC’s involvement at the January 6,
   2021 U.S. Capitol riot, as described below, on October 13, 2021, RUTLEDGE and W. BOSTIC
   were arrested for violations of 18 U.S.C. § 1752(a)(1) and (2), and 40 U.S.C. § 5104(e)(2)(D) and
   (G). On October 25, 2021, RUTLEDGE and W. BOSTIC were charged in case no. 1:21-cr-
   00643 (CKK) in a four-count Information, with violations of 18 U.S.C. § 1752(a)(1) and (2) and
   40 U.S.C. § 5104(e)(2)(D) and (G). That Information was superseded on March 3, 2022 and alleges
   the same violations.

10. Further investigation has shown that KAREGAN BOSTIC (K. BOSTIC) is the sister of
    RUTLEDGE and the daughter of W. BOSTIC, and that K. BOSTIC was in the U.S.
    Capitol with RUTLEDGE and W. BOSTIC on January 6, 2021. An image of closed-circuit
    television (CCTV) from January 6, 2021 is below and captures W. BOSTIC on the left,
    RUTLEDGE in the middle, and K. BOSTIC on the right.




    Picture One

11. As a result of the initial tips regarding RUTLEDGE, FBI interviewed two individuals who
    identified RUTLEDGE as an individual inside the Capitol building. Person-1 has known
    RUTLEDGE for a significant period of time. On January 8, 2021, Person-1 took screen shots of
    Facebook posts made by RUTLEDGE, during which RUTLEDGE appeared to be taking photos
    from inside the Capitol building with a device believed to be her cell phone. On January 8, 2021,
    Person-1 provided a screenshot of a Facebook post made by RUTLEDGE stating “After miles and
    miles of walking and climbing and climbing some more we made it inside the capitol building.
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      What an experience for the books”. The screenshot from Facebook included a small profile photo
      and several photos from outside the Capitol with a “+19” indicator that represented an additional
      19 photos that were posted to her page (Picture Two).




Picture Two



   12. Capitol Police provided the affiant with specific CCTV footage to search that captured distinct
       individuals RUTLEDGE had posted photos of, further described below. Upon reviewing the
       footage, an individual matching the description of RUTLEDGE was identified as entering through
       the doorway (Picture Three) next to a broken window where she watched other individuals climb
       through and enter the U.S. Capitol (Picture Four).
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Picture Three:
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Picture Four:




   13. Using the information available, your affiant queried a Commonwealth of Virginia law
       enforcement database. The results of the query verified that the individual pictured in the Facebook
       account and in the CCTV footage appears to be RUTLEDGE based upon government records.
       The query identified the subject as Megan Elizabeth Bostic, which is believed to be RUTLEDGE’s
       maiden name.

   14. A comparison of the Facebook photos and CCTV footage was made and the affiant corroborated
       RUTLEDGE’s presence inside the Capitol. Photographs depicting RUTLEDGE, a Caucasian
       female who resides in Virginia Beach, Virginia is shown below.

Source: Capitol Police                  Source: Facebook                          Source: Facebook
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   15. On February 11, 2021, Person-2 provided additional screenshots from RUTLEDGE’s Facebook
       page of images posted from inside the Capitol which are shown below. Person-2 has known
       RUTLEDGE for a significant period of time and saw that the images posted by RUTLEDGE
       were from outside and inside the Capitol building. Person-2 provided several screenshots of
       photos posted by RUTLEDGE on her Facebook page, which can be seen below. Upon receiving
       these photos, the affiant reviewed CCTV security footage. The affiant found CCTV footage that
       captured RUTLEDGE taking photos and videos on her cell phone that were cross referenced
       with the images provided by Person-2. The images from RUTLEDGE’s Facebook, provided by
       Person-2, included photos of individuals dressed in distinctive colonial style (Picture Five) and
       Spartan (Picture Six) inspired costumes who were also captured on CCTV. Upon review of
       CCTV footage, the affiant discovered RUTLEDGE using her cell phone to capture the photos of
       the individuals in Picture Five and Picture Six. Picture Seven is a screenshot of CCTV footage
       which shows RUTLEDGE, W. BOSTIC, and an individual investigator believe to be K.
       BOSTIC, a woman with blonde hair, a tan baseball cap and a light blue face mask, together in
       the same area of the Capitol while RUTLEDGE appears to use her cellphone.

Picture Five: CCTV footage (right) of RUTLEDGE at a slightly different moment, taking Picture
Five (left) on her cell phone. W. BOSTIC (black knit cap, dark flannel shirt, and white face mask),
an individual believed to be K. BOSTIC (tan baseball cap) are seen in the CCTV footage next to
RUTLEDGE.
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Picture Six: CCTV footage (right) of RUTLEDGE around the time Picture Five (left) was taken. W.
BOSTIC (black knit cap, dark flannel shirt, and white face mask) is standing behind RUTLEDGE,
K. BOSTIC (tan baseball cap with ponytail) is in front of her.




Picture Seven: CCTV footage of W. BOSTIC, K. BOSTIC and RUTLEDGE.
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   16. Another distinctive individual seen in the photos posted by RUTLEDGE included a bald man on
       a cellphone (Picture Eight). CCTV footage showed RUTLEDGE moving through the interior of
       the Capitol near this individual whom she took pictures of.

Picture Eight: CCTV footage (right) of RUTLEDGE taking the picture (left) of the bald man at
slightly different times than that of the photo she posted on Facebook. CCTV footage (bottom)
depicts RUTLEDGE and the individual believed to be K. BOSTIC in the proximity of the bald man
pictured in RUTLEDGE’s photos posted on Facebook.




   17. A tall man, believed to be W. BOSTIC, wearing a dark blue flannel shirt black knit cap, and a
       light blue face mask and K. BOSTIC were seen with RUTLEDGE in her Facebook photos
       (Picture Nine) and on USCP security cameras (Picture Ten and Picture Eleven). The three
       individuals were seen entering the Capitol together. They stayed together the entire time, took
       several photos and videos together and departed together. The affiant and a Task Force Officer
       assigned to interview RUTLEDGE attempted to make contact at a residence associated with her
       and her parents on February 10, 2021. A man answered the door and identified himself as W.
       BOSTIC, RUTLEDGE's father, but would not provide additional information. Additionally,
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       during that interaction, W. BOSTIC appeared to wear the same blue flannel shirt at his residence
       as seen in the CCTV and Facebook photos which led the affiant to investigate W. BOSTIC.

   18. According to records obtained through a Search Warrant served on T-Mobile, on January 6, 2021,
       at or about the time of the incident described above, that is, at approximately between 3:15 p.m.
       EST and 3:37 p.m. EST, the cellphone associated with a phone number ending in 6514, registered
       to W. BOSTIC, was identified as having utilized a cell site consistent with providing service to a
       geographic area that includes the interior and exterior area surrounding the United States Capitol
       building


Picture Nine: Photograph obtained from RUTLEDGE’s Facebook account
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Picture Ten from CCTV:




Picture Eleven from CCTV
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   19. Person-2 positively identified RUTLEDGE in Pictures Three, Four, Six, and Nine. Person-2
       identified RUTLEDGE based upon her hair style and face even though it was partially covered.
       Person-2 had seen RUTLEDGE without a mask in person and on social media and was confident
       that the person captured by CCTV with the dark hair, red mask and black North Face jacket
       pictured above, is RUTLEDGE.

      Picture Ten depicts RUTLEDGE utilizing a cellular phone to take photos and videos.


   20. A search of RUTLEDGE and W. BOSTIC’s phones revealed photos of K. BOSTIC on January
       6, 2021. Picture Twelve was recovered from W. BOSTIC’s phone. The picture is of his daughters
       RUTLEDGE and K. BOSTIC without their masks on in front of the Washington Monument on
       January 6, 2021. Picture Thirteen was recovered from RUTLEDGE’s phone. The photo depicts an
       individual presumed to be K. BOSTIC and W. BOSTIC inside the U.S. Capitol on January 6,
       2021. Picture Fourteen was recovered from RUTLEDGE’s phone and depicts the individual
       presumed to be K. BOSTIC with RUTLEDGE inside the U.S. Capitol on January 6, 2021. Picture
       Fifteen was recovered from RUTLEDGE’s phone and depicts the individual presumed to be K.
       BOSTIC on the U.S. Capitol steps on January 6, 2021.



Picture Twelve from W. BOSTIC’s phone:
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Picture Thirteen recovered from RUTLEDGE’s phone:
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Picture Fourteen recovered from RUTLEDGE’s phone:




Picture Fifteen recovered from RUTLEDGE’s phone:
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21. Additionally, videos from open sources on the internet show RUTLEDGE, W. BOSTIC and the
    individual believed to be K. BOSTIC. The video posted on https://projects.propublica.org/parler-
    capitol-videos/?id=Wm3Hw3zIomlz depicts RUTLEDGE, W. BOSTIC and the individual
    believed to be K. BOSTIC on the U.S. Capitol steps. The individual presumed to be K. BOSTIC
    was wearing a light blue jacket and tan USA baseball cap in images captured both inside and outside
    the U.S. Capitol. The jacket and baseball cap were unique to the individual wearing them, the
    majority of individuals in the background of photos and videos inside and outside the U.S. Capitol
    show that the individual believed to be K. BOSTIC is wearing clothing that differentiated from
    other individuals based upon the colors. Most individuals around her wore dark colored jackets and
    she had the only tan U.S.A. hat in the images viewed. In Pictures Seven and Thirteen above, K.
    BOSTIC has in her hand what appears to be a cellular telephone.


22. As part of its investigation, the FBI attempted to determine if phone numbers that may be
    associated with K. BOSTIC used a cellular cite consistent with the geographic area that included
    the interior of the U.S. Capitol building on January 6, 2021; the results were negative.


23. On April 26, 2022, your affiant and another Special Agent interviewed K. BOSTIC at her place
    of work. After identifying themselves and the nature of the interview, K. BOSTIC acknowledged
    that she was K. BOSTIC and she was advised that she did not need to provide any statements or
    answer any questions. Your affiant has reviewed Pictures Twelve and Fifteen and compared the
    person believed to be K. BOSTIC in those images with the person who identified herself as K.
    BOSTIC to the interviewing agents on April 26, 2022. The person who identified herself as K.
    BOSTIC appears to be the person in Pictures Twelve and Fifteen.


24. Interviewing Agents showed K. BOSTIC the photos below (Pictures Sixteen, Seventeen, and
    Eighteen), which are believed to be her, and which were recovered from W. BOSTIC’s phone
    and from CCTV. K. BOSTIC looked at the photos and nodded acknowledging the photos. The
    interviewing agents asked K. BOSTIC if she witnessed any violence inside the U.S. Capitol. K.
    BOSTIC stated that she walked into the U.S. Capitol with her father and sister, walked around
    and walked out. She did not witness any violent actions and felt they had been “set-up” when they
    heard about the violence inside the U.S. Capitol after the fact.
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Picture Sixteen




Picture Seventeen




Picture Eighteen
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    25. Based on the foregoing, your affiant submits that there is probable cause to believe that K.
        BOSTIC violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
        or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
        and with intent to impede or disrupt the orderly conduct of Government business or official
        functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
        restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
        orderly conduct of Government business or official functions; or attempts or conspires to do so.
        For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
        or otherwise restricted area of a building or grounds where the President or other person protected
        by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
        building or grounds so restricted in conjunction with an event designated as a special event of
        national significance.


    26. Your affiant submits there is also probable cause to believe that K. BOSTIC violated 40 U.S.C.
        § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
        threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
        Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
        orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
        that building of a hearing before, or any deliberations of, a committee of Congress or either
        House of Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                          _________________________________
                                                          AMANDA KRUGLER
                                                          Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of May 2022.


                                                          ___________________________________
                                                          HON. ROBIN M. MERIWEATHER
                                                          U.S. MAGISTRATE JUDGE
